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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

SURGE TRANSPORTATION, INC.                      )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )    Case No. 1:24-cv-2099
                                                )
DIRECT CONNECT LOGISTIX, INC.                   )
                                                )
and                                             )
                                                )
MATTHEW R. MAY                                  )
                                                )
       Defendants.                              )
                                                )

                        NOTICE OF REMOVAL OF CIVIL ACTION

       Defendants Direct Connect Logistix, Inc. (“Direct Connect”) and Matthew R. May, by

counsel, in a civil action brought by Plaintiff Surge Transportation, Inc. (“Surge Transportation”),

which is presently pending as Case No. CL-2023-0015318 in the Circuit Court of Fairfax County,

Virginia, hereby jointly file this Notice of Removal, pursuant to 28 U.S.C. §§ 1332, 1441, and

1446, on the grounds that this action is between diverse parties with more than $75,000 in

controversy. In support of its Notice of Removal, Defendants state as follows:

       1.      On October 27, 2023, Plaintiff filed a complaint against Defendants in the Circuit

Court of Fairfax County (“State Court”), styled and captioned as Surge Transportation, Inc. v.

Direct Connect Logistix, Inc., et al, and assigned Case No. CL-2023-0015318 (the “State Court

Case”). A true and correct copy of the Complaint is attached hereto as Exhibit 1.

       2.      On October 22, 2024, the State Court issued Summons to both Defendants.




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        3.      On October 25, 2024, Plaintiff served the Complaint and Summons on both

Defendants by serving the Secretary of the Commonwealth. A true and correct copy of the

Affidavits of Service are attached hereto as Exhibit 2.

        4.      This Notice of Removal is timely because it is being filed within the statutorily

allowed thirty-day period after the date of service of the initial pleading. See 28 U.S.C. § 1446(b).

        5.      Plaintiff is a Florida corporation with its principal place of business in Florida. See

Exhibit 1, ¶ 2. Therefore, for diversity purposes, Plaintiff is a citizen only of the state of Florida.

        6.      Direct Connect is an Indiana corporation, with its principal place of business in

Indiana. See id., ¶ 5. Therefore, for diversity purposes, Direct Connect is a citizen only of the

State of Indiana.

        7.      Mr. May is domiciled, and permanently resides, in the State of New York. See

id., ¶ 6. Therefore, for diversity purposes, Mr. May is a citizen of New York.

        8.      The amount in controversy in the action is at least $50 million. See id., p. 16, ¶ 2.

        9.      Pursuant to 28 U.S.C. § 1332, this Court has original jurisdiction of all civil actions

where the matter in controversy exceeds the sum or value of $75,000 and is between citizens of

different States.

        10.     Pursuant to 28 U.S.C. § 1441(a), the State Court Case may be removed to this Court

because the case meets the requirements for diversity jurisdiction in 28 U.S.C. § 1332 and no

defendant is a citizen of Virginia.

        11.     Under 28 U.S.C. §§ 1441 and 1446, the State Court Case may be removed to the

United States District Court for the Eastern District of Virginia, because it is the Federal District

Court that embraces Fairfax County, Virginia within its jurisdiction.




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       12.     Concurrent with the filing of this Notice of Removal, written notice thereof will be

given to the Plaintiff, a true and correct copy of which is attached as Exhibit 3.

       13.     Concurrent with the filing of this Notice of Removal, written notice thereof will be

filed with the Clerk of the Circuit Court for Fairfax County, Virginia. A true and correct copy of

that Notice is attached as Exhibit 4.

       14.     In filing this Notice of Removal, Defendants do not waive and hereby expressly

reserve the right to assert any and all defenses.

       WHEREFORE, Defendants give notice that the above-captioned action is removed from

the Circuit Court of Fairfax County Virginia to this Court.



Dated: November 22, 2024                                Respectfully submitted,

                                                         /s/ Micah E. Ticatch
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                                                        Micah E. Ticatch, Va. Bar No. 83351
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                                                        Logistix, Inc. and Matthew May




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of November I will electronically file the foregoing

with the Clerk of Court using the CM/ECF system and will also serve a copy of the foregoing via

electronic mail:

                             Wayne G. Travell, Esq. (VSB No. 22400)
                             Allison P. Klena, Esq. (VSB No. 96400)
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